Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 1 of 27

IN THE UNITED STATES DISTRICT COURT FILE

FOR THE SOUTHERN DISTRICT OF GEORGIA ~ AUGUSTA

SOHAIL M. ABDULLA;

Plaintiff

VS.

SOUTHERN BANK, AND SARDIS

BANKSHARES, INC.

Defendants.

ISTA i
22 JUN 23 P12 42

ofthe

Livi. wa UA.

COMPLAINT
(JURY TRIAL DEMANDED)

Case No.

CV12Z21- g99

COMPLAINT

COMES NOW, Pro Se Plaintiff Sohail M. Abdulla, and files this Complaint and alleges as

follows:

PARTIES AND JURISDICTION

1. Plaintiff Sohail M. Abdulla is a citizen and resident of South Carolina whose address is 647
Vincent Avenue NE, Aiken, South Carolina 29801.

2. Defendant Southern Bank is a Georgia corporation whose registered agent is Jamin Hujik
and whose address is 731 Charles Perry Avenue P.O. Box 100, Sardis, Georgia 30456.

3. Defendant Sardis Bankshares, Inc. is a Georgia corporation whose registered agent is Jamin
Hujik and whose address is 731 Charles Perry Avenue P.O. Box 100, Sardis, Georgia

30456
Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 2 of 27

JURISDICTION AND VENUE

4. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. Section
1332 (a)(1) because Plaintiff and Defendants are residents of different states creating
diversity, and the matter in controversy exceeds the sum or value of $75,000 exclusive of
interest and costs.

Those who are supposed to be held to the highest standards and are deemed to be the most
trusted are capable of the greatest destruction, particularly when they hide behind the veneer of
righteousness and truthfulness. This is made even worse when they are dealing with those who
are vulnerable. Hiding behind bombastic statements and simply expecting to be believed cannot
prevail. Plaintiff understands that the allegations listed in this complaint may sound outlandish,
but unfortunately they are true. The evidence provided speaks for itself. If the Defendants could
refute these allegations, they would have given Plaintiff an accounting of what they did with the
money. A plain reading of the evidence presented reveals why they will not give Plaintiff an
accounting.

The law is well established that “pro se pleadings are generally held to a less stringent standard than
pleadings drafted by attorneys, and thus should be liberally construed.” Green v. Nelson, 595 F.3d 1245,
1254 n.4 (11th Cir. 2010). “[W]e read pro se briefs liberally to ensure that such litigants do not, through
their ignorance of legal terminology, waive claims.” United States v. Hung Thien Ly, 646 F.3d 1307, 1316
(11th Cir. 2011).

FACTUAL BACKGROUND

The Sportsman’s Link Bankruptcy and the Fraudulent Note

5. Plaintiff executed a note and mortgage under seal with Defendants June 29, 2001. This
was a one year note that expired on June 29, 2002. The loan number for this note was
412039900 [Hereafter “Original Goodale Note”]. See Exhibit 1, Original Goodale Note
The security deed was recorded in Richmond County Georgia at Book 00738/2048 on July
12, 2001 [hereafter “Goodale Security Deed”]. The Goodale Security Deed attached a
condominium as collateral, hereinafter known as the “Goodale Property.” See Exhibit 2,
Original Goodale Security Deed

6. The debt for loan number 412039900 was paid by renewal in December of 2001and was

paid in full on or before March 2005. No other legal mortgages were placed on the

2
Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 3 of 27

Goodale Property after this time [Exhibit 3, Abdulla Credit Report] [Pages 38 Line 3
through Page 39 Line 13 of Exhibit 7, Deposition of Ralph Dickey]
. In July 2006, Plaintiff executed a note and security agreement on behalf of his business,
Sportsman’s Link, Inc., in the amount of $850,213.00 [Hereafter “2006 Sportsman’s Link
Note” ]. [Exhibit 4, 7/06/06 Sportsman’s Link Note] Included as security for this 2006
Sportsman’s Link Note were all of the stock, merchandise and fixtures for Sportsman’s
Link, a $250,000.00 life insurance policy, certain other real estate parcels, a backhoe, 2003
Hummer, all furniture and fixtures located at 4020 Washington Road, and certain jewelry
along with other collateral that was placed in the collateral vault of Defendants. The
Goodale Property was listed in the designation of collateral in the 2006 Sportsman’s Link
Loan. However, the only executed and recorded security interest in favor of Defendants
was an assignment of rents found at Book/Page: 1197/1273 in Richmond County Georgia.
[Exhibit 5, Assignment of Rents] This Assignment of Rents did not allow Defendants to
foreclose or obtain title to the Goodale Property.
- No other security deed was ever executed or recorded for the Goodale Property after 2001.
Loan 412039900 was satisfied in or before 2002.
. As part of the 2006 Sportsman’s Link Note, and specifically referenced therein, was a
Third-Party Agreement that stated as follows:

[ [Sohail Abdulla] agree to give you [Southern Bank] a security interest

in the property that is described on Page 1. I agree to the terms of this

note and security agreement but I am in no way personally liable for

the payment of the debt.[Emphasis Added] See Exhibit 4, 7/06/2006

Sportsman’s Link Note
10.

11.

12.

13

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 4 of 27

This note was crafted by Defendants. The contra proferentem rule is a
legal doctrine in contract law which states that any clause considered to
be ambiguous should be interpreted against the interests of the party that
created, introduced, or requested that a clause be included. The contra

proferentem rule guides the legal interpretation of contracts.

Upon information and belief, this Third-Party Agreement was executed to allow:
Defendants to attempt to circumvent the lending limit restrictions prescribed by 12 U.S.C.
Section 12, essentially doubling the amount the bank could legally lend to Plaintiff and his
business. Defendants would also be in violation of 12 U.S.C. Section 84 as well as 12
U.S.C. Section 93.

At the time of the loans, the lending limit for Defendants was approximately $1 million.
[Page 15 Line 17 through Page 16 Line 24 of Exhibit 7, Deposition of Ralph Dickey ].
At no time has the lending limit of Defendants exceeded $1.3 million as of March 15, 2018.

In March 2007, Sportsman’s Link entered Chapter 11 Bankruptcy.

. In Defendants’ bankruptcy claim are numerous properties and collateral that Defendants

fraudulently claimed they had a lien on, including “3.68 Acres” (deed recorded at Book
4105/174) [hereinafter the “Columbia County Parcels”]. The “3.68 Acres” tract had been
fully paid off to Southern Bank, making the claim fraudulent. The “3.68 acres” note was
fully paid, just like the Original Goodale Note was fully paid. Georgia Bank and Trust
filed a bankruptcy Proof of Claim on this exact same property based an extant note they
had. Further, the backhoe, the 2003 Hummer, and all furniture fixtures and equipment

located at 4020 Washington Road had been paid off and released by Defendants.
14.

15.

16.

17.

18.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 5 of 27

Defendants falsely inflated its collateral holdings, violating state and federal regulations.
See Exhibit 8 Georgia Bank & Trust Proof of Claim and Exhibit 6 Southern Bank’s
Original Bankruptcy Proof of Claim].

In March 2007, Defendants filed a Proof of Claim with the Bankruptcy Court in the amount
of $853,718.96 based on the 2006 Sportsman’s Link Note. Also included in the Proof of
Claim were the 2006 Sportsman’s Link Note, and the 2001 Goodale Security Deed as
supporting documentation. Included in these Notes are further fraudulent liens. [Exhibit 6,
Southern Bank’s Original Bankruptcy Proof of Claim]

On August 16, 2007, a motion to terminate Sportsman’s Link’s lease was filed by the
landlord because counsel for Sportsman’s Link had failed to timely file the acceptance of
lease with the Court.

Upon information and belief, Counsel for Defendants, Mark Wilhelmi, advised his client
that Sportsman’s Link would not be able to reorganize in Chapter 11 and would be forced
to convert to a Chapter 7 bankruptcy.

On or about August 30, 2007, fourteen days after a motion to terminate Sportsman’s Link’s
lease was filed, the Defendants, required Plaintiff to travel to its office in Waynesboro,
Georgia to execute additional documents on his commercial loan.

Plaintiff was required to execute another note to replace the 2006 Sportsman’s Link Note.
This other note [Hereafter “Renewal Note”] was in the amount of $843,640.46 which
properly reflected the payments made on the 2006 Sportsman’s Link Note since its original
execution. The Renewal Note also included the same Third-Party Agreement attached to

the 2006 Sportsman’s Link Note. [Exhibit 9, 8/30/2007 Renewal Note]
19.

20.

21,

22.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 6 of 27

Another document Plaintiff was required to execute on August 30, 2007 was a
“Modification” of the Original Goodale Note under loan 412039900, secured by the
Goodale Security Deed [hereinafter the “Fraudulent Note”]. [Exhibit 10, Fraudulent
Note]

The Fraudulent Note purported to increase the loan amount from $200,872.00 to
$843,455.46, but never modified the collateral pledged or the mortgage that was satisfied in
2005 or before. This Fraudulent Note purports to revive a dead note, which is legally
impossible. Also, importantly, this Fraudulent Note does not have an account number, A
dead note cannot be resurrected, as testified by Defendant’s 30(b)6 witness Ralph Dickey.
Also, how can the amount owed on the Original Goodale Note be exactly the same after six
years? Plaintiff received no consideration from the Fraudulent Note. This was done to
illegally seize Plaintiff's property. See Exhibit 7 Page 17 lines 15-18 Deposition of
Ralph Dickey

Despite the purported increase of indebtedness from $200,872.00 to $843,455.46, no
additional consideration was provided to Plaintiff. This is clearly an additional and
separate indebtedness since the amount of the Renewal Note is $843,640.46 and the
amount of the Fraudulent Note is $843,455.46 which is a different amount and a different
Note.

Under Defendants’ own regulations and federal law, the purported increase of over
$642,583.46 in Plaintiff's indebtedness exceeded the lending limit of Defendants. The total
amount “lent” counting the fraudulent Renewal Note would be approximately 2.2 million
dollars; in violation of 12 U.S.C. Section 84. [Page 48 Lines 15-22 of Exhibit 7,

Deposition of Ralph Dickey |
23,

24.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 7 of 27

Defendants never obtained permission from the Bankruptcy Court to execute the August
2007 Renewal Note. Further, the Renewal Note is not part of the bankruptcy record, in
violation of bankruptcy law.

Defendants never disclosed the August 2007 Renewal Note or the Fraudulent Note to the
Bankruptcy Court, nor did Defendants ever amend its claim to reflect the payments made
by Plaintiff. Upon signing the Renewal Note, the 2006 Sportsman’s Link Note became null
and void leaving Defendants with no legal claim against Sportsman’s Link in the
bankruptcy proceeding nor against Plaintiff outside the bankruptcy proceeding in any way,
shape, or form. All of Defendants’ actions in the bankruptcy proceeding were done in
reliance upon the July 2006 Sportsman’s Link Note which was null and void as of August
30, 2007. This is a violation of 18 U.S.C. Sections 152 and 3571. The fire sale of the
Sportsman’s Link inventory (in which the inventory was sold at vastly below market value)
brought in around One Million Dollars. Upon information and belief, Defendants
absconded valuable articles out from under the sale. Further, after a court order telling
them not to sell Plaintiff's personal items in the auction, the Defendants violated and went
ahead and sold them, defying the Court, and also have never given Plaintiff an accounting,
credit, or listing for the wrongful sale of personal items sold at auction. The Defendants
continually exhibit a pattern of defying and lying to the various courts and not giving
Plaintiff an accounting for monies Defendants wrongfully acquired. See Exhibit 11 Page

18 Line 20 through Page 19 Line 1, and Page 40 Line 14 through Page 41 Line 15, and

Page 43 Lines 1-17.
25

26.

27.

28.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 8 of 27

. Upon information and belief, Defendants listed the Fraudulent Note as a valid account

receivable in its general ledger despite the fact that it was a fraudulent note for which no
consideration was given and violated the lending limits of the bank.

Sportsman’s Link’s lease was officially terminated and the bankruptcy converted to
Chapter 7 in July 2008.

Defendants willfully and intentionally foreclosed on the Goodale Property in November
2008, using the Fraudulent Note, without providing lawful notice or serving Plaintiff with
the necessary documents in violation of due process.

Defendants represented to the Court in the foreclosure that Plaintiff could not be located,
despite Plaintiff's phone and e-mail contact with the President of Defendants, Ralph
Dickey, as well as other employees of the bank during the same time period. Plaintiff has e-
mails showing contact with Defendants and has testified under oath to being in contact with
Defendants via phone and e-mail, as well as Plaintiff testifying that he was never notified
by the Defendants that any foreclosures were imminent or occurring. To illustrate
Plaintiffs concern, care, and trust of Mr. Ralph Dickey; in 2012, Plaintiff agreed to donate
one of his own kidneys to Mr. Dickey, who was in need of one. It also shows clearly
Plaintiff's constant communication with Mr. Dickey since this was a long and arduous
process over a period of years to be approved for the kidney transplant. The form attached
is areferral form initiated by Mr. Dickey. The moral contrast between the Plaintiff and the
theft and prevarication of Defendants is stark. See Exhibit 11Abdulla Depostion Page
15 Line I through Page 17 Line 10 and Exhibit 12 E-mails to Ralph Dickey and
Exhibit 22 Emory Transplant Center Kidney Living Donor Program Evaluation

Referral Form
Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 9 of 27

29. On November 4, 2008, Defendants finalized the foreclosure by filing a deed under power

30.

31.

transferring title to Defendants. The foreclosure was based on Original Goodale Note
(which clearly expired on June 29, 2002) in the amount of $200,872.00 and the Goodale
Security Deed recorded at 00738/2048 that was paid off and dead. Defendants bid in
$125,000 at the foreclosure sale. This is another lie to another court. The note was dead
and nothing was owed on this property. And most tellingly of all, Defendants never made
any charge-offs or sued Plaintiff for any deficiency whatsoever for any loans attached to
the Goodale Property, because there was no extant note. [Exhibit 13, Foreclosure Filing
on Goodale Property|

At the foreclosure sale, the bank made a bid of $125,000.00 and took “legal” title to the
Goodale Property. This acquisition was never reported to the bankruptcy court even
though the Goodale Property was specifically listed in the 2006 Sportsman’s Link Note, the
(invalid and void) 2007 Renewal Note, and the Proof of Claim as collateral for the debt
owed to Defendants by the debtor in bankruptcy. The $125, 000 simply disappeared and
has never been accounted for despite repeated requests by Plaintiff and assurances under
oath by Defendants that they would provide it. Since Plaintiff didn’t receive it, who got the
money?

In September 2009, Defendants resold the Goodale Property to Janice Clark for
$185,000.00 (which was financed by Defendants with a less than 1% down payment). This
profit of $60,000.00 was never reported to the bankruptcy court despite the fact that the
Goodale Property was specifically listed in the 2006 Sportsman’s Link Note, the unlawful
2007 Renewal Note, and the Proof of Claim as collateral for the debt owed to Defendants

by the debtor in bankruptcy. In 2011, Defendants filed an Amended Proof of Claim with
32.

33.

34.

35.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 10 of 27

the bankruptcy court. This claim failed to report the $10,000.00 in direct payments made
by Plaintiff on the 2006 Sportsman’s Link Note and reflected the amount in the Renewal
Note. This is the same note that the Defendants never disclosed to the Bankruptcy Court,
nor did Defendants ever amend its claim to reflect the payments made by neither Plaintiff
nor the acquisition of the Goodale Property by Defendants, or the subsequent sale of the
Goodale Property to Janice Clark and financed by the Defendants for the buyer. This is a
violation of 18 U.S.C. Sections 152 and 3571. Upon information and belief, Plaintiff
believes that this was a “straw man sale” to Ms. Clark. The Defendants bought the
Goodale Property again for $173,700.00 it being the highest bidder. [Exhibit 14, Southern

Bank’s Amended Bankruptcy Proof of Claim |

Other Hlegal Foreclosures and Seizure of Property

Plaintiff had two personal debt obligations to Defendants in 2008.

The first was a debt of $110,366.72 which was originally secured by three motor vehicles.
On July 22, 2008, a hearing was held in which the Plaintiff did not attend because of his
doctor’s orders and the Court was notified and the Defendants was aware of this fact,
Defendants required Plaintiff to sign another note on July 25, 2008 for the $110,366.72
debt [Hereafter “$110,366.72 Note” only three days after the July 22, 2008 Court hearing
where the doctor’s order clearly stated that he would reevaluate the plaintiff in thirty days.
This $110,366.72 Note added a 7.68 acre real estate parcel in Burke County Georgia and an
additional 1.19 acre parcel in Columbia County Georgia as collateral to the debt. No
additional consideration was given for this $110,366.72 Note. Plaintiff was sick at the time
of signing this note and was not of sufficient capacity to sign this foolish and unnecessary

note ceding over to Defendants around $250,000.00 of additional unneeded collateral.

10
36.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 11 of 27

Defendants’ 30(b)6 witness Ralph Dickey admitted to Plaintiff's lack of capacity and knew
that Plaintiff left the country because of his health, because he knew firsthand and was told
by Plaintiff, making this additional collateral null and void by law. Plaintiff was sick at the
time of signing the $110,366.72 Note and was not of sufficient capacity. Further,
Defendants did not provide lawful notice nor did they serve Plaintiff with the necessary
documents which violated due process. See Exhibit 7 Page 25 Lines 2-20 Deposition of
Ralph Dickey and Exhibit 11 Abdulla Deposition Page 15 Line 23 through Page 16
Line 21

Defendants moved to repossess the vehicles and foreclose on the added real estate in less
than 42 days after the signing of the $110,366.72 Note, which was months before the note
was due. Defendants repossessed four cars and not three according to Defendants’ letter.
Exhibit 15 9/05/2008 Letter of Mark Wilhelmi [There was a 2004 Ford Mustang GT
Convertible Mystichrome that was not stated in the letter (Extreme Custom Built, Super
Charged, Upgraded Engine, Show Car. Last Year It Was Built) 13,008 Miles VIN

#1 FAFP45X84F204928. Defendants also repossessed a 2000 Ford Mustang hardtop black
Custom Built, Super Charged Race car, that Defendants had no lien on but was stated as
repossessed in the letter] The repossession and default notices were sent to an address
where Defendants knew that Plaintiff was not located at. The letter itself states Defendants
knew that the Plaintiff was out of the country and not at the address to which the letter was
sent. Further, the vehicles were repossessed before even sending the letter. No record
whatsoever has been provided to Plaintiff with regards to the disposition of these vehicles
or any monies obtained there from. Since Plaintiff didn’t receive the money, who got the

money? Plaintiff never was given an opportunity or notice whereby he could correct any

11
37.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 12 of 27

defaults and they stated it would be too late before Plaintiff found out, despite the fact that
Plaintiff was in continuous contact with Defendants’ president Ralph Dickey as well as
other bank employees. Ralph Dickey advised Plaintiff that he had well over One Million
Dollars in equity in the Columbia County land and improvements, and Defendants said
“let’s get it appraised”. The Defendants had its own appraisal done which came to around
Two Million Dollars. Ralph Dickey had a family member of Plaintiff pre-approved for over
One Million Dollar loan from Defendants itself for the Columbia County properties.
Plaintiff had well over One Million Dollars in equity in the Columbia County land and
improvements alone, according to the Defendants’ own appraisal. Plaintiff's family
member was pre-approved for at least a One Million Dollar loan from Defendants itself for
the Columbia County properties. The property was presold and loan preapproved, if
needed according to Ralph Dickey, with all debts being paid off; without the destruction
caused by Defendants. There was absolutely no reason for Defendants to intentionally and
maliciously foreclose on Plaintiff's properties, except to illegally make an exorbitant profit.
See Exhibit 15 9/05/2008 Letter of Mark Wilhelmi and Page 15 Line 23 through Page
16 Line 21 and Page 23 Line 22 through 24 Line 2 Exhibit 7 Deposition of Ralph
Dickey and Page 20 Line 12 through Page 21 Line 1 Exhibit 11 Abdulla Deposition
The second personal debt was $363,388 which was secured by two Columbia County
Parcels. One of these parcels (a 31 acre tract in Columbia County) was listed in the
bankruptcy Proof of Claim, purportedly to secure the 2006 Sportsman’s Link Note and the
Renewal Note - which was not recorded in the bankruptcy proceeding or any other court,

making it invalid. This is a violation of 18 U.S.C. Sections 152 and 3571.

12
38.

39.

40.

41.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 13 of 27

In October and November of 2008, Defendants instituted foreclosure proceedings against
Plaintiff on the Columbia County parcels and a real estate parcel in Burke County Georgia.
Plaintiff did not receive any notice of the foreclosures and Defendants made no legitimate
effort to inform Plaintiff of the foreclosures as required by the fundamentals of due process,
even though Defendants was in full contact with Plaintiff. In fact, Defendants intentionally
moved to seize all of the properties while Plaintiff was away, and intentionally made no
real effort to give him notice. Legal notice was not given, and all of the seizures by
Defendants are illegal and invalid by law.

Defendants bid $350,000.00 on the Columbia County Parcels and took title thereto. In
October of 2008 the Defendants foreclosed on these two parcels (31 Acres and 22 Acres for
the $350,000 figure). Also in October of 2008 the Defendants had its own appraisal done
for these exact properties. The 53 Acres appraised for $583,000 and the Defendants bought
it back at 40% below its own appraised value; at $233,000 below appraised value. The
Defendants stated that it will show that $350,000 was the fair market value in their
application to confirm the foreclosure sale. Once again showing the Defendants’ pattern of
lying to courts and profiting from it. This is clearly Unjust Enrichment on the part of the
Defendants. [In December of 2008 the Defendants “charged off? $363,388.00 which was
the entire amount for this note. Where did this money go? One Hundred Percent of the loan
amount for this note was written off by the Defendants and no credit was given to the
Plaintiff.] Exhibit A Plaintiff's Credit Report showing write offs

Defendants bid $30,000.00 on the Burke County Parcel and took title thereto On January

4, 2007, Plaintiff paid $170, 00.00 for this very same property.

13
42.

43.

44.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 14 of 27

Defendants bid $40,000.00 on the 1.19 Acres Columbia County Parcel and took title
thereto (this property once again was sold and financed by Defendants for the buyer).
Further, Defendants sold Plaintiff's modular log cabin without having title to it or having a
lien on it and without giving Plaintiff credit for the sale. Where did the money go?

The three vehicles securing the $110,366.72 debt obligation were repossessed and sold to
individuals in October 2008. Defendants failed to liquidate the personal property of
Plaintiff through a commercially reasonable collateral sale as required by law.
Defendants bid in $30,000.00 on the Burke County Parcel. Plus, Defendants bid in
$40,000.00 on the 1.19 Acres Columbia County Parcel. Plus, Defendants itself claimed it
“charged off” $35,253 on this note alone. Defendants’ total gain was $105,253. Plus, they
received the extra profit of $47,500 for the sale of the Burke County Parcel. Where did the
money go for the automobiles? Also, this is breach of contract of a document under seal,
since Plaintiff did not receive credit for property seized. The amounts received for these
vehicles have never been provided by Defendants (despite numerous requests) nor have
those amounts been credited to Plaintiff in any way. See Exhibit 7 Page 53 Lines 12-25,
Page 57 Line 15 through Page 64 Deposition of Ralph Dickey Also Exhibit A
Plaintiff's Credit Report showing write offs

Plaintiff did not receive any notice of the repossessions or sales and Defendants made no
legitimate effort to inform Plaintiff of the foreclosures as required by the fundamentals of
due process. In fact, Defendants intentionally moved to seize all of the properties while
Plaintiff was away, and intentionally made no real effort to give him notice. Legal notice

was not given, and all of the seizures by Defendants are illegal and invalid by law.

14
45.

46.

47.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 15 of 27

The Columbia County parcels were subsequently sold for $490,000.00 by Defendants and
financed by the Defendants for the buyer. Defendants “charged off” $363,388.00 which
was 100% of Loan #413623700 that secured the Columbia County parcels, This fraudulent
charge off by the Defendants created a false tax liability for the Plaintiff. The Defendants
are double dipping on everybody. This is despite Defendants putting in a successful bid of
$350,000 for these parcels and subsequently selling them for $490,000. This one sale
alone overpaid Plaintiff's entire debt to the Defendants. How can you write off something
and gain substantial profit on the same thing at the same time? The Defendants did not
give Plaintiff credit for the sale. Exhibit B Sales History and Exhibit A Plaintiff's
Credit Report showing write offs

The Burke County Georgia Property was subsequently sold for $77,500.00 by Defendants.
Further, the Defendants financed this sale for the buyer, lending him $118,470.00 for this
property. Defendants lent $40,970.00 over and above the sales price of $77,500, after
illegally taking the property for $30,000. Exhibit C Sales History

Despite ultimately recovering more than $567,500.00 [Plus the Defendants “charged off”
$398,640.00 totaling $966,140.00. Defendants profited $505,773.28] (This amount does
not include the sale of the Goodale Property, the four automobiles, Plaintiff's personal
items wrongfully sold in the auction, the contents in the properties, the missing contents of
the safety deposit box, and the modular log cabin) for a debt of only $460,366.72, Plus
Defendants reported deficiencies equaling $398,640.00 on Plaintiff's credit report.
Defendants itself claimed it “charged off” in excess of $363,388. Defendants profited
$505,773.28. Of particular note, the Defendants itself financed every single one of their

sales of these properties for the respective buyers, thereby keeping close control of these

15
48.

49

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 16 of 27

transactions. A bank’s accounts must balance. If Defendants wrote it off and Plaintiff
didn’t get the money, then who did? See Exhibit 16 2/24/2016 Letter From Mark

Wilhelmi last paragraph titled Charge Off _and Exhibit A Plaintiffs Credit Report

showing write offs

Dendant’s Fraudulent Acts to Conceal Illegal Activity

In 2010, Plaintiff continually requested from Defendants all documents related to his
property including loans, bank accounts, and personal guarantees from. Defendants did
provide some bank statements, but nothing pertaining to the Fraudulent Note, any

repossession or sales, accounting, or any foreclosures was provided.

. In 2016, Plaintiff again requested all documents related to his property, loans, bank

accounts, and personal guarantees from Defendants. Nothing was provided as Defendants
claimed that all information was available online through the bankruptcy file on the Pacer
Website. This was false, since nothing pertaining to any personal obligation of Plaintiff,
any repossession or sales, accounting, or any foreclosures nor anything about the
Fraudulent Note, was on file with the bankruptcy court. To date, none of this information
has been provided to the Plaintiff by the Defendants even after numerous requests since
2010 and assurances under oath by Defendants that they would provide it on March 15,
2018. Further, in a separate action, Defendants’ 30(b)6 witness Ralph Dickey swore, after
attaching many documents that were up to twenty five years old, that “These attachments
only represent a small portion of the files held by Southern Bank involving Mr. Abdulla
and Sportsman’s Link, which are also available for inspection” And yet they refuse to
produce the documentation requested by Plaintiff and to which he has a right to have by

law. Plaintiff made requests for his documents on numerous occasions. And not only did

16
50.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 17 of 27

Defendants not provide the documents, the Defendants made clear statements to Plaintiff so
as to dissuade Plaintiff from investigating. And continue to do so to this day. Counsel for
Defendants even admitted is was not unreasonable for Plaintiff to want an accounting for
his monies. Any claim of Defendants that the statute of limitations has run is barred by
equitable tolling. See Exhibit 21 Paragraph 9 of Affidavit of Ralph Dickey and Exhibit
11 Page 13 Line 7 through Page 15 Line 9, and Page 57 Lines 6 through 21 Abdulla
Deposition See Also Exhibit D 11/02/2016 Letter of Mark Wilhelmi

In 2016, counsel for Defendants, Mark Wilhelmi, made numerous false assertions that
concerned Plaintiff:

a. The Renewal Note in 2007 was done through an informal and unreported agreement
with counsel for Plaintiff, with no attempt to ever notify (or get the approval of) the
bankruptcy court or any other creditor;

b. The Fraudulent Note was executed to cover the debt obligations of Sportsman’s Link
and Plaintiffs personal obligation arising there from when there was absolutely no
documentation to support this assertion;

c. The proceeds from the sale of the Goodale Property were applicd to the Sportsman’s
Link Debt, but were never reported to the bankruptcy court or reflected in the
Amended Proof of Claim filed 2 years after its resale by Defendants; along with no

credit given to Plaintiff and

d. No attempt was made to locate Plaintiff with regard to the foreclosures or
repossessions because Plaintiff had “fled the country” which was patently false and a
slanderous lie. Plaintiff left with a two way ticket while in constant communication

with Defendants including Plaintiff giving Defendants Plaintiffs contact information

17
Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 18 of 27

and notifying Defendants before Plaintiff left. Plaintiff was in the process of returning
when continuously advised by his own counsel Mr. Bill Williams to stay where he was
at. He stated “Stay where you are until we can figure out what else is going on”.
Further, Plaintiff was asked by the Defendants to help them in a lawsuit brought
against them in 2009, to which Plaintiff complied and gave them assistance and was in
complete communication with them. See Exhibit 16 2/24/2016 Letter From Mark
Wilhelmi See also Exhibit 12 Emails to Ralph Dickey. See also Exhibit 17
Plaintiff’s Affidavit See Also Exhibit 18 Two Way Plane Ticket See Also Exhibit
19 E-mail Communication From Bill Williams Bullet Point 7. Also Exhibit 11

Page 52 Lines 6-12 Abdulla Deposition

51. In response to a separate lawsuit brought by Plaintiff in 2017, Defendants falsely asserted
in pleadings to the Aiken County Court of Common Pleas that:

a. the Sportsman’s Link notes were “personally guaranteed” by Plaintiff, despite the
fact that the aforementioned “Third-Party Agreement” specifically prevented any
deficiency against Plaintiff; Further, Defendants never sought any deficiency
judgment from the Plaintiff based on this document, since the Plaintiff was not
personally liable. [Paragraph 5 of Exhibit 20 Third Party Agreement, Answer in
2017-CP-02-00283]

b. the Amended Bankruptcy Proof of Claim was filed because of the August 2007
Renewal Note, despite the fact that the August 2007 Renewal Note was never
disclosed to the Bankruptcy Court and the actual debt refinanced in the 2007

Renewal Note was never reported, thereby allowing a fraudulently inflated

18
Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 19 of 27

indebtedness to remain on record (After being caught, Plaintiff later admitted this
was not true); [Paragraph 8 of Exhibit 20, Answer in 2017-CP-02-00283]
Defendants suffered a loss in excess of $363,000.00 loss due to the loans given to
Plaintiff and his business; [Paragraph 10 of Exhibit 20, Answer in 2017-CP-02-

00283]

52. In a motion to dismiss in the aforementioned action, Defendants’ 30(b)6 witness submitted

an affidavit [Exhibit 21, Affidavit of Ralph Dickey] that made several perjured assertions:

a.

That Defendants suffered an “actual loss” in excess of $363,000.00 as a result of the
Sportsman’s Link debt: See Exhibit 21 Paragraph 7 Affidavit of Ralph Dickey
That Plaintiff was personally liable for the “actual loss” in excess of $363,000.00.

See Exhibit 21 Paragraph 7 Affidavit of Ralph Dickey

53. In 2018, Plaintiff was able to depose a representative of Defendants through another

proceeding pursuant to Rule 30(b)(6), SCRCP. During that deposition, numerous perjured

statements were made by Defendants and Mr. Wilhelmi:

a.

Mr. Wilhelmi again declared that the Fraudulent Note was executed to cover the
Sportsman’s Link debt in bankruptcy; [Page 4 of Exhibit 7, Deposition of Ralph
Dickey |

Mr. Wilhelmi declared that Sportsman’s Link was given credit for the $125,000.00
value of the Goodale Property and that credit was reflected in the Amended Proof of

Claim; [Page 42 Line 18 through Page 43 Line 4 of Exhibit 7, Deposition of

Ralph Dickey]

19
54.

55.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 20 of 27

c. Defendants and Mr. Wilhelmi declared that Plaintiff personally owed more than
$363,000.00 to Defendants; [See Page 44 Line 5 through 15 of Exhibit 7,
Deposition of Ralph Dickey |

d. Defendants claimed that they were going to locate another note justifying the
claimed deficiency and the Fraudulent Note (the deposition was stopped because
Defendants’ 30(b)6 witness could not explain many of the discrepancies placed
before him); [See Page 61 Lines 8 through 25 Exhibit 7, Deposition of Ralph
Dickey

e. Defendants claimed that they were never in contact with or knew where Plaintiff
was when he left See Page 15 Line 23 through Page 16 Line 21 Exhibit 7
Deposition of Ralph Dickey

Defendants stated on the record in the deposition, which occurred on March 15, 2018, that
the additional documentation justifying the deficiencies, sale of the automobiles and the
Fraudulent Note would be researched and produced to Plaintiff (thereby acknowledging
and admitting that it had not provided documentation to Plaintiff and had theretofore

hidden it). As of the time of this filing, nothing has been produced to justify the
deficiencies, sale of the automobiles and the Fraudulent Note, nor has any accounting been
given to Plaintiff, nor has any rational answer been given.

On February 2, 2018, Defendants willfully and intentionally put Plaintiff's personal
information on the public record in the Aiken County Court of Common Pleas while failing
to properly redact it, violating not only the court’s own rules but also the Gramm-Leach-
Bliley Act and the Privacy Act of 1974. These include social security number, driver’s

license number, date of birth, and personal history, etc. They put all this out for the world

20
56.

57.

58.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 21 of 27

to see anything and everything you would expect to see in a personal financial statement.
Anyone could steal Plaintiff's identity at any time, causing damage to Plaintiff in
perpetuity as there is no putting the milk back in the bottle. This is a gross and uncaring
action made by the Defendants, and is another act in an ongoing pattern of disdain for
Plaintiffs rights. Plaintiff told Defendants on September 17, 2018, as soon as Plaintiff
found out to remove these documents from the public record; and Defendants willfully left
the other personal financial statement filed on February 2, 2018 and willfully and defiantly
relisted Plaintiff personal financial statement back up again in a separate proceeding on
April 5, 2019 without failing to properly redact it. Plaintiff will provide this evidence to
the court in a sealed manner at the court’s discretion; See Exhibit 23 9/17/2018 Player

Letter to Wilhelmi

FOR A FIRST CAUSE OF ACTION
(Breach of Contract)

The preceding paragraphs are incorporated herein as if restated verbatim.

Defendants foreclosed on an invalid/dead note and the Goodale Security Deed in 2008 as
both had been satisfied in or before 2005.

All of the instruments which Defendants violated and breached are under seal, thereby
making the statute of limitations 20 years from the right of accrual; pursuant to Georgia law
and any claim of Defendants that the statute of limitations has run is barred by equitable
tolling. These include, but are not limited to, the Goodale Modification, the Goodale
Security Deed, the Original Goodale Note, the $110,366.72 Note, the $110,366.72 Security
Deed, the $363,388.00 Note, the $363,388.00 Security Deed, and the 2006 and the 2007

Sportsman’s Link notes.

21
59.

60

61.

62

63.

64.

65.

66.

67.

68

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 22 of 27

Further, the fraudulent acts of Defendants concealed the particulars of their wrongdoing

until 2018, and are continuing to conceal their wrongdoing up to the time of filing.

. As Defendants wrongfully foreclosed on the Goodale Property by using an invalid note and

mortgage that were previously satisfied, that foreclosure was void ab initio.
Plaintiff suffered damages and continues to suffer damages as a result of Defendants’

wrongful conduct in an amount to be determined by a jury.

FOR A SECOND CAUSE OF ACTION
(Accounting)

. The preceding paragraphs are incorporated herein as if restated verbatim.

Defendants failed to provide any notice or accounting of the seizure and ultimate sale for
Plaintiff's personal property taken in 2008 to date.

Defendants failed to provide any notice or accounting of the foreclosures and ultimate
Deeds under power for Plaintiffs real property taken in 2008, or what happened to the
content in the property to date.

Defendants failed to liquidate the personal property of Plaintiff through a commercially
reasonable collateral sale as required by law.

Defendants failed to apply the proceeds of the collateral sale to the outstanding
indebtedness of Plaintiff.

Plaintiff is entitled to all documents, notes, and a full accounting of the sale of his collateral

in 2008 and beyond.

. Plaintiff suffered damages and continues to suffer damages as a result of Defendants’

wrongful conduct in an amount to be determined by a jury.

FOR A THIRD CAUSE OF ACTION

22
69.

70

71.

72.

73

74.

75.

76.

77.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 23 of 27

Violation of the Federal Trade Commission Act

The preceding paragraphs are incorporated herein as if restated verbatim.

. Plaintiff and Defendants are “persons” within the meaning of Federal Trade Commission

Act (hereafter “FTCA”).

Defendants were engaged in commerce within the meaning of the FTCA.

Defendants’ actions described hereinabove constitute unfair and deceptive practices within
the meaning of FTCA. Also, with the litany of facts presented regarding Defendants’

deceptions and actions, it appears more than likely that Defendants has violated its own

bank charter.

. Defendants’ acts are capable of repetition, and, upon information and belief, have been

repeated,

Defendants knew or reasonably should have known their conduct violated the FTCA.

As a direct, foreseeable, and proximate result of Defendants’ unfair and deceptive
practices, Plaintiff suffered and continues to suffer actual, consequential, and incidental
damages as a result of these losses and actions.

Plaintiff is entitled to recover their actual damages, which amount should be trebled,
together with interest.

Defendants have already had its chance to tell the truth in multiple courts and have shown
an ongoing pattern of deceit. Defendants have made false representations to and perjured
itself in the Richmond County Georgia Superior Court, the United States Bankruptcy Court
for the Southern District of Georgia, Aiken County South Carolina Court of Common
Pleas, and the South Carolina Court of Appeals. Further, the Defendants are a financial
institution and are held to a higher standard with regards to honesty and public trust than an

ordinary layman is. Defendants should not be allowed to profit from their illegal activities

23
78.

Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 24 of 27

and the Doctrine of Unclean Hands applies with regards to the Defendants. It should also
be noted that although attorneys are allowed to give a vigorous defense of their client, they
cannot knowingly lie to the Court on behalf of their client. This honorable Court should
disregard any testimony of Defendants or any defense of Defendants brought before this
Honorable Court.

Plaintiff suffered damages and continues to suffer damages as a result of Defendants’

wrongful conduct in an amount to be determined by a jury.

For a Fourth Cause of Action

Violation of the Gramm-Leach-Bliley Act and the Act and the Privacy Act of 1974
75. Defendants maliciously and intentionally Plaintiff's personal information out to the
public in its filing on February 2, 2018. Important personal and confidential information
was put in the public record; able to be viewed by anyone. Little to no effort was
expended by Defendants to redact or ensure concealment of this personal information.
This is a clear violation of what the Gramm-Leach-Bliley Act and the Privacy Act of
1974 was created to prevent actions like these. Defendants have taken no action
whatsoever to redact the Plaintiff's Personal Financial Statement to date, and has caused
tremendous harm to Plaintiff. Defendants were warned by Plaintiff’s counsel on
9/17/2018 regarding this matter and Defendants ignored him. Defendants even had the
gall to republish the Plaintiffs Personal Financial Statement in a subsequent proceeding
on April 5, 2019 showing clear intent and a callous disregard for Plaintiff on Defendants’
part. The damage goes on in perpetuity for Plaintiff. See Exhibit 22 Player letter to

Wilhelmi 9/17/2018 and Exhibit 7 Page 16 Line 25 through Page 17 Line 8

24
Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 25 of 27

76. Plaintiff suffered damages and continues to suffer damages as a result of Defendants’

wrongful conduct in an amount to be determined by ajury.

For a Fifth Cause of Action

IHegal Entry of Safety Deposit Box
77, Defendants willfully and illegally drilled and entered Plaintiff's safety deposit box at
the direction of their counsel, Mark Wilhelmi in 2017 while in litigation. Mark Wilhelmi
stated “Southern Bank informed me that Mr. Abdulla also had a safety deposit box with
the bank which has not been paid and was in default. At my recommendation,
Southern Box had the safety deposit drilled open. Upon opening the safety deposit
box, they discovered that the inner box was missing entirely. In addition, the
Signature Card for the lock box cannot be located. Southern Bank has no idea what
the original contents of the Safety deposit box were.” This box account was apparently
kept open despite ten years of nonpayment. It is beyond suspicious for anyone to believe
Defendants’ statement that “the inner box was missing entirely” (Implying that Plaintiff
could simply walk out of the bank with this box, which was the largest box that the bank
offered) and in addition, “the Signature Card for the lock box cannot be located”
Plaintiff was in continuous contact with Ralph Dickey from 2008 to 2018. Suspiciously,
the “Signature Card could not be located”, according to the Defendants. Most blatant of
all is the fact that this box was opened during the pendency of a court case in which the
contents of the box were at issue; Plaintiff’s counsel was never notified of the proposed
drilling of the safety deposit box. This was exactly what the Defendants did when
Plaintiff was out of the country for his health. Despite the fact that the Plaintiff was in

full and continuous contact with the Defendants in this case, no notice was given and

25
Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 26 of 27

Defendants did as they pleased, with no regard to the law or to Plaintiff. Plaintiff would
like to know what happened to the contents of the box. See Exhibit 7 Deposition of
Ralph Dickey Page 17 Line 19 through Page 21 Line 19 and Exhibit 24 8/3/2017
Wilhelmi Letter to Player and Exhibit 11 Abdulla Deposition Page 47 Line 6
through Page 52 Line 12.

78. Plaintiff suffered damages and continues to suffer damages as a result of Defendants’

wrongful conduct in an amount to be determined by a jury.
For a Sixth Cause of Action
Violation of the Fair Credit Reporting Act

79. Defendants willfully and intentionally placed multiple false write offs on
Plaintiff's credit report totaling $398,640.00. Defendants knew that these were

false reports of losses that were applied to Plaintiff.

80. Plaintiff suffered damages and continues to suffer damages as a result of

Defendants wrongful conduct in an amount to be determined by a jury.

WHEREFORE, Plaintiff respectfully prays for judgment against the Defendants, who
are jointly and severally liable, on all claims and for actual damages and compensatory damages,
punitive damages, Expert Fees, as well as any other relief shown to be appropriate including, but
not limited to, treble damages, costs and interest, and for such other and further relief as the
Court may deem just and proper.

I agree to provide the Clerk’s Office with any changes to my address where case related papers
may be served. I understand that my failure to keep a current address on file with the Clerk’s
Office may result in the dismissal of my case.

This @ ZAday of June, 2021.

26
Case 1:21-cv-00099-JRH-BKE Document1 Filed 06/23/21 Page 27 of 27

    

Sohail Abdull;
647 Vincent Ave NE

Aiken, SC 29801

27
